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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
CENTRAL FLYWAY AIR, INC., a CASE NO. 20-5506 RJB
Canadian corporation, and JON
BOYCHUK, an individual, ORDER ON MOTION TO STRIKE
AND MOTIONS TO COMPEL

Plaintiffs,
V.

GREY GHOST INTERNATIONAL, LLC,
a Wyoming corporation with operations in
part in Washington state, and CASEY
INGELS, an individual,

Defendants,

 

GREY GHOST INTERNATIONAL,
LLC, and GREY GHOST GEAR OF
CANADA,

Counter-Plaintiffs,

CENTRAL FLYWAY AIR, INC., JON
BOYCHUK, and MILBURN
MOUNTAIN DEFENSE LTD.,

Counter-Defendants.

 

 

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This matter comes before the Court on Defendant and Counter-Plaintiff Grey Ghost
International, LLC’s (“GGT”) Motion to Strike Plaintiff's Expert Report and Preclude Expert
Witness (Dkt. 68) and GGI’s Motion to Compel Discovery from Counter-Defendant, Milburn
Mountain Defense, Ltd. and to Compel Plaintiff and Counter-Defendant Jon Boychuk to Provide
Complete Responses (Dkt. 70). The Court has considered the pleadings filed regarding the
motions and the file herein.

FACTS

Originally filed on May 29, 2020, this case arises as a result of failed business venture
Grey Ghost Gear of Canada, Ltd. Dkt. 1. The Second Amended Complaint was filed on
February 26, 2021. Dkt. 43. Defendant Casey Ingels was dismissed with prejudice on June 28,
2021. Dkt. 55.

The expert witness disclosure deadline was September 8, 2021. Dkt. 38. The discovery
deadline is November 8, 2021. Jd. The dispositive motions deadline is December 7, 2021 and
trial is set to begin on March 7, 2021. Dkt. 38.

Fact and Motions Related to Expert Witness John Brams. On September 8, 2021,
Plaintiffs/Counter-Defendants filed a Motion to Continue the expert disclosure deadline for 60
days “to present a supplemental report.” Dkt. 62. In this same pleading, the Plaintiffs/Counter-
Defendants designated John Brams, CPA as their expert. Jd. The Plaintiffs/Counter-Defendants’
motion was granted, in part, and denied, in part. Dkt. 66. That order granted a two-week
extension of time, to October 4, 2021, to provide the expert’s report. Dkt. 66.

On October 4, 2021, a three-page “Expert Report of John Brams, CPA” was filed. Dkt.

67. He does not state an opinion in the report, but details more data he asserts he needs to assess

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the value of the Plaintiffs’ interests in Grey Ghost Gear of Canada, Ltd. (the failed business) and
to analyze the veracity of Defendant GGI’s allegations. Jd.

On October 14, 2021, GGI filed the instant motion to strike Mr. Brams’ report and to
preclude his testimony at trial. Dkt. 68. It argues the report fails to provide the information
required under Fed. R. Civ. P. 26(a)(2)(B). Jd. GGI notes that despite having over 2,000 pages
of discovery from GGI, Mr. Brams argues that he does not have all the information he needs to
render any opinions. /d. GGI argues that the information is in Plaintiff/Counter-Defendant
Boychuk’s possession and notes that GGI’s expert witness on these issues was able to provide an
opinion. Jd. Further, GGI points out that, contrary to the assertions in his report and CV, Mr.
Brams’ CPA license was suspended in 2016 by the Oregon Board of Accountancy and remains
suspended. Jd.

The Plaintiffs/Counter-Defendants do not directly respond to the motion to strike Mr.
Brams’ report or to limit or to preclude his testimony at trial.

On October 18, 2021, the last day to file discovery related motions, the
Plaintiffs/Counter-Defendants filed a Motion to Compel Discovery. Dkt. 72. (While this motion
is not ripe for consideration for two more days, for context, it will be discussed here). In this
motion, they seek to compel more complete answers to their Requests for Production and
Interrogatories to Defendant GGI, which GGI sent to them on June 7, 2021. Dkt. 72.
Specifically, they seek more on Requests for Production 17, 18, 19, 20, and 21, which the
Plaintiffs/Counter-Defendants contend are necessary for Mr. Brams to complete his report on
valuation of their shares in the failed business. Jd.

In response to the Plaintiffs/Counter-Defendants’ motion to compel, the GGI argues that

the Plaintiffs/Counter-Defendants failed to meet the meet and confer requirements of Fed. R.

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Civ. P. 37(a)(1) and of Local Rule W.D. Wash. 37(a)(1). Dkt. 75. GGI further argues that it has
no other documents responsive to the Plaintiffs/Counter-Defendants requests for production,
particularly Requests for Production 17, 18, 19, 20, and 21. Id.

Facts and Motion related to GGI’s Motion to Compel. GGI moves to compel
discovery from Counter-Defendant Milburn Mountain Defense, Ltd. (“Milburn”) and from
Plaintiff Jon Boychuk. Dkt. 70. The following are facts that relate to this motion.

Milburn Discovery. On July 26, 2021, GGI served a First Set of Interrogatories,
Request for Production and Request for Admissions on Milburn. Dkt. 71-1. Milburn’s
responses were due by August 25, 2021. Milburn did not respond.

Boychuk Discovery. On April 1, 2021, GGI served its First Set of Interrogatories,
Requests for Production, and Request for Admissions on Mr. Boychuk. Dkt. 57. Responses
were due by May 3, 2021. After attempting to obtain responses, on June 30, 2021, GGI wrote
Mr. Boychuk’s counsel advising them that due to the failure to respond, all objections to the First
Set of Interrogatories and Requests for Production Defendants were deemed waived and the
Request for Admissions were deemed admitted under Fed. R. Civ. P. 36(a). Jd. Almost one
month later, on July 23, 2021, Mr. Boychuk served responses to the First Set of Interrogatories,
Requests for Production, and Request for Admissions. Dkt. 57, at 29-51. Mr. Boychuk denied
or failed to respond to some of the Requests for Admissions. Dkt. 57, at 47-51.

On August 30, 2021, the Court denied GGI’s motion to deem all requests for admission
admitted and Mr. Boychuk’s motion for the Court to permit his July 23, 3031 responses to
remain was granted. Dkt. 60.

GGI’s Motion to Compel. In the pending motion, GGI moves the Court for an order

compelling Milburn to respond to the First Set of Interrogatories, Request for Production and

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Request for Admissions. Dkt. 70. GGI moves the Court for an order compelling Plaintiff Jon
Boychuk to respond to GGI’s Request for Admission #20, to which he did not respond. GGI
further notes that Mr. Boychuk’s response were not under oath as required under Fed. R. Civ. P.
33(b)(3). Id.

Plaintiffs/Counter-Defendants respond and argue that GGI failed to meet the meet and
confer requirements of Fed. R. Civ. P. 37(a)(1) and of Local Rule W.D. Wash. 37(a)(1). Dkt. 73.
GGI filed a reply, acknowledges that its meet and confer communication was solely through
email. Dkt. 74. It further notes that the discovery remains outstanding. Jd.

DISCUSSION

A. MOTION TO STRIKE MR. BRAM’S REPORT

Fed. R. Civ. P. 26(a)(2)(A) requires disclosure of an expert witness. Rule 26(a)(2)(B)
provides that “this this disclosure must be accompanied by a written report--prepared and signed
by the witness--if the witness is one retained or specially employed to provide expert testimony
in the case.” The report must contain:

(i) a complete statement of all opinions the witness will express and the basis and
reasons for them;

(ii) the facts or data considered by the witness in forming them;
(iii) any exhibits that will be used to summarize or support them;

(iv) the witness's qualifications, including a list of all publications authored in the
previous 10 years;

(v) a list of all other cases in which, during the previous 4 years, the witness
testified as an expert at trial or by deposition; and

(vi) a statement of the compensation to be paid for the study and testimony in the
case.

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Rule 26(a)(2)(B). Rule 37(c)(1) provides that “where a party fails to provide information or
identify a witness as required by Rule 26(a) . . . that party is not allowed to use that information
or witness to supply evidence on a motion, at a hearing or at a trial, unless the failure was
substantially justified or is harmless.”

GGI’s motion to strike Mr. Brams’ report (Dkt. 68) should be granted. Mr. Brams’ report
fails to comply with Rule 26(a)(2)(B). Further, the Plaintiffs/Counter-Defendants did not
respond to the motion. They made no showing that the “failure was substantially justified or is
harmless.” To the extent GGI moves to preclude Mr. Brams expert opinions from trial, the
motion should be granted.

B. MOTIONS TO COMPEL

Fed. R. Civ. P. 37(a)(1) provides that a motion to compel must include a “certification
that the movant has in good faith conferred or attempted to confer with the person or party
failing to make disclosure or discovery in an effort to obtain it without court action.” Likewise,
Local Rule W.D. Wash. 37(a)(1) provides:

Any motion for an order compelling disclosure or discovery must include a

certification, in the motion or in a declaration or affidavit, that the movant has in

good faith conferred or attempted to confer with the person or party failing to

make disclosure or discovery in an effort to resolve the dispute without court

action. The certification must list the date, manner, and participants to the

conference. If the movant fails to include such a certification, the court may deny

the motion without addressing the merits of the dispute. A good faith effort to

confer with a party or person not making a disclosure or discovery requires a face-

to-face meeting or a telephone conference.

In GGI’s Motion to Compel (Dkt. 70) and in Plaintiffs/Counter-Defendants’ Motion to
Compel (Dkt. 72), both parties indicate that they emailed opposing counsel about the discovery

at issue in their motions. Accordingly, neither party met the Local Rule 37(a)(1) requirement to

either meet in person or over the telephone.

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Both motions (Dkts. 70 and 72) should be renoted for consideration for November 19,
2021. By November 17, 2021, parties should file additional briefing (after complying with Local
Rule 37(a)(1)) informing the Court, what, if any, issues remain in the motions to compel. Parties
are strongly encouraged to resolve these issues if possible.
ORDER
IT ORDERED THAT:
e GGI’s Motion to Strike Plaintiff's Expert Report and Preclude Expert Witness
(Dkt. 68) IS GRANTED;
e GGI’s Motion to Compel Discovery from Counter-Defendant, Milburn Mountain
Defense, Ltd. and to Compel Plaintiff/Counter-Defendant Jon Boychuk to Provide
Complete Responses (Dkt. 70) and Plaintiffs/Counter-Defendants’ Motion to
Compel Discovery (Dkt. 72) ARE RENOTED to November 19, 2021; and
e By November 17, 2021, parties SHALL FILE additional briefing (after
complying with Local Rule 37(a)(1)) informing the Court, what, if any, issues
remain in the motions to compel.
The Clerk is directed to send uncertified copies of this Order to all counsel of record and

to any party appearing pro se at said party’s last known address.

Dated this 3 day of November, 2021.

[abit pon

ROBERT J. BRYAN
United States District Judge

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